                 Case 8:04-cr-00235-DKC Document 1678 Filed 04/14/14 Page 1 of 2
TRULINCS 38360037 - DOBIE, LAVON - Unit: CRW-H-S


FROM: 38360037
TO:
SUBJECT: MOTION FOR RETURN OF PROPERTY
DATE: 04/14/2014 06:54:34 PM

LA' VON DOBIE
    VS
UNITED STATES

CASE # 04-0235

       NOW COMES THE DEFENDANT LA' VON DOBIE ,PRO SE PETITIONING THE COURT FOR THE RETURN OF
HER ALLOWABLE SEIZED PROPERTY. THE DEFENDANT HAS ENDURED THE DEMISE OF HER HUSBAND MOST
RECENTLY, AS WELL AS THE DEMISE OF BOTH MATERNAL GRANDPARENTS AND HER ONLY SIBLING ,SINCE HER
ARREST ON JUNE 1,2004.

THE DEFENDANT IS HUMBLY ASKING THAT HER PHOTOSIWATCHES    BE RETURNED TO HER DUE TO THE
SENTIMENTAL VALUE.THE PROPERTY CONSIST OF PHOTOS OF THE DECEASED MENTIONED ABOVE AS WELL AS
THE BIRTH OF HER GRANDSON. ALONG WITH THE WATCHES, THAT WERE GIFTS FROM HER GRANDPARENTS AS
WELL AS A WATCH THAT BELONGS TO THE DECEASED. NUMEROUS OF CAMERAS WERE SEIZED WITH
UNDEVELOPED FILM, THAT THE DEFENDANT IS HUMBLY ASKING BE RETURNED. IN 2006, VIA ATTORNEY PETER
WARD ,THE DEFENDANT HUMBLY ASKED FOR THE RETURN OF THE ABOVE MENTIONED PROPERTY AND WAS
TOLD THE PROSECUTOR[MS. JOHNSTON OR GREENBERG] STATED IT COULD NOT BE RETURNED UNTIL ALL
APPEALS HAD BEEN EXHAUSTED.

I THE DEFENDANT HAVE NO INTENTION OR EXPECTATIONS THAT THIS CASE WILL BE RETRIED AND NOW WOULD
LIKE FOR THIS MOTION TO BE GRANTED, ORDERING THE GOVERNMENT TO RETURN ALL ALLOWABLE PROPERTY
OR RELEASE IT TO AN INDIVIDUAL AUTHORIZED BY THE DEFENDANT TO RECEIVE IT. ENCLOSED FIND A COPY OF
THE LETTER STATING THE GOVERNMENT DO NOT WANT TO PURSUE FORFEITURE FOR 102 PIECES OF JEWELRY
SEIZED FROM THIS DEFENDANT AND IT WAS RETURNED TO THE DEFENDANT AND PICKED UP BY THE
DEFENDANTS MOTHER. I ASKED THAT MS. LOWERY-SMITH[MY MOTHER BE ALLOWED TO PICK UP THE ABOVE
SEIZED ITEMS FROM COURTS.

I HUMBLY ASK THAT THE GOVERNMENT CONCEDE WITH THE DEFENDANTS REQUEST TO HAVE THE PROPERTY
RETURNED AND DOES NOT POSE ANY OPPOSITION TO THE GRANTING OF THIS MOTION.

                 NFORMAL NATURE OF THIS DOCUMENT PLEASE CONSIDER IT AS LEGAL MOTION.




LA VON. OBIE # 38360-037
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FMC-REQUEST[1-S-131-L]
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                Case 8:04-cr-00235-DKC Document 1678 \, Filed 04/14/14 Page 2 of 2                               PAGE   El


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                                           --"                                        '_.: PO Box 174-23
                                                                                          Washington. DC 20041



                                                                                          US. Customs and
                                                                                          Border Protection
         April 8,2005
         Port Case No.
         2004-5401-000221-01


         Ms. Lavon D. Dobie - 04419a
         22880 Whelan Lane
         Boyds, MD 20841

                 Re: 172 Pieces of Jewelry

         Dear'Ms'. Dobie:

          This is in response to your claim form and request to forward this case to the U.S.
        , Attorney for court action. The United States Attorney decision has made the decision
          that Judicial action will not be pursued on this case,  "            .-.. -"      -

        . The property will be available for release upon receipt of the enclosed signed and
          notarized Hold Harmless Agreement. If you wish to have the property released to
          another individual acting on your behalf, sign and have notarized the attached
          Designation of Representative and Limited Power of Attorney. A picture identification.
          will be required for that perSon to pick up the property. 80th of these documents must
          be notarized and the original signed and notarized documents returned to this office.

         If you have any questions regarding this matter please contact me at (703) 318-5900
         ext. 212.



                                                        Sincerely,



                                                     f" Julie E. Bedenbaugh
                                                        Fines, Penalties, and forfeitures Officer
                                                        Port of Washington, D.C.


        Enclosures
              -Hold Harmless Agreement
               -Designation     of Representative           and Limited Power of Attorney
